                                         Case 5:16-cv-00600-JGB-SP Document 364 Filed 02/01/21 Page 1 of 4 Page ID #:6816




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                                             6
                                                 Attorneys for Defendants
                                             7 Royce International Broadcasting

                                             8
                                               Corporation, Playa Del Sol Broadcasters,
                                               Silver State Broadcasting, LLC, Golden
                                             9 State Broadcasting, LLC, and Edward R.

                                            10
                                               Stolz, II

                                            11
                                                                          UNITED STATES DISTRICT COURT
ADLI LAW GROUP, P.C.




                                            12
                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                            13
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                                            14
                                                 WB MUSIC CORP., et al.,                    Case No. 5:16-cv-00600-JGB-DTB
                                            15

                                            16               Plaintiff,                     DECLARATION OF
                                                                                            COMPLIANCE OF EDWARD R.
                                            17         v.                                   STOLZ, II SUBMITTED IN
                                            18                                              RESPONSE TO COURT ORDER
                                                 ROYCE INTERNATIONAL                        RE RECEIVER’S APPLICATION
                                            19 BROADCASTING CORP., et al.,                  FOR CONTEMPT
                                            20
                                                             Defendants.
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 2273.201
                                                                           DECLARATION OF EDWARD R. STOLZ, II
                                        Case 5:16-cv-00600-JGB-SP Document 364 Filed 02/01/21 Page 2 of 4 Page ID #:6817




                                            1                    DECLARATION OF EDWARD R. STOLZ, II
                                            2

                                            3        I, EDWARD R. STOLZ, II hereby declare as follows:
                                            4        1.     I am the principal of business entity Defendants and an individually
                                            5 named Defendant in the above captioned matter.

                                            6        2.     The facts stated in this Declaration are known to me personally. If
                                            7 called as a witness, I could and would testify to the truthfulness of all matters stated

                                            8 herein.

                                            9        3.     Referring to Item No. 1 in the Court Order dated January 28, 2021
                                           10 (“Order”), all bank account information and statements were already provided to the

                                           11 Receiver’s counsel on September 9, 2020. A true and correct copy of the provided
ADLI LAW GROUP, P.C.




                                           12 information, which I understand was resent to Receiver’s counsel Rory Miller again

                                           13 today, is attached hereto as Exhibit 1. There are no other “financial documents
                       (213) 623-6546




                                           14 relating to the operation of [the] radio stations.”

                                           15        4.     Referring to Item No. 2 of the Order, website changes are accomplished
                                           16 through a company called Palm Desert Geeks (PDG), who, in turn, maintains an

                                           17 account with GoDaddy.         Requests for postings or changes to the websites are
                                           18 communicated to PDG through Mr. Stolz’s assistant Debby McKay, who calls in the

                                           19 requests to PDG. A true and correct printout of PDG’s website is attached hereto as

                                           20 Exhibit 2.

                                           21        5.     Referring to Item No. 3., there are no revenue funds or third-party
                                           22 vendors paying the stations’ expenses. With respect to the KREV station only, there

                                           23 is an arrangement with Artbeatz, under which rent for the station is exchanged for

                                           24 music data. There is no money exchanged between the KREV and Artbeatz.

                                           25        6.     Referring to Item No. 4, I have not and will not instruct stations’
                                           26 employees not to cooperate with the Receiver.

                                           27        7.     Referring to Item No.5, all keys for the Radio Stations were previously
                                           28 provided back in September.
                                                                                           1
                                                                          DECLARATION OF EDWARD R. STOLZ, II
 2273.201
Case 5:16-cv-00600-JGB-SP Document 364 Filed 02/01/21 Page 3 of 4 Page ID #:6818
                                        Case 5:16-cv-00600-JGB-SP Document 364 Filed 02/01/21 Page 4 of 4 Page ID #:6819




                                            1
                                                                          CERTIFICATE OF SERVICE
                                            2
                                                      I hereby certify that I electronically filed the foregoing documents with the
                                            3
                                                Clerk of the Court for the United States District Court for the Central District of
                                            4
                                                California by using the CM/ECF system on February 1, 2021:
                                            5

                                            6            DECLARATION OF COMPLIANCE OF EDWARD R. STOLZ, II
                                            7       SUBMITTED IN RESPONSE TO COURT ORDER RE RECEIVER’S
                                            8                          APPLICATION FOR CONTEMPT
                                            9         Participants in the case who are registered CM/ECF users will be served by
                                           10 the CM/ECF System.

                                           11         I certify under penalty of perjury that the foregoing is true and correct.
ADLI LAW GROUP, P.C.




                                           12         Executed February 1, 2021 at Los Angeles, California.
                                           13
                       (213) 623-6546




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                                           17 Date: February 1, 2021                      /s/ Dariush G. Adli
                                           18                                             Dariush G. Adli

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                                                                          DECLARATION OF EDWARD R. STOLZ, II
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